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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA,           )
                                       )
11              Plaintiff,             )                 CASE NO.       CR07-312-TSZ
           v.                          )
12                                     )
                                       )                 DETENTION ORDER
13 RUSTY BOSCHEE,                      )
                                       )
14              Defendant.             )
   ___________________________________ )
15
     Offenses charged:
16
              Count I:      Conspiracy to Distribute Marijuana, in violation of Title 21, U.S.C.,
17
                            Section 841(a)(1), 841(b)(1)(A) and 846.
18
              Criminal Forfeiture Allegations, in violation of Title 21, U.S.C., Section 853(p).
19
     Date of Detention Hearing: October 12, 2007
20
              The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. §
21
     3142(f), and based upon the factual findings and statement of reasons for detention hereafter
22
     set forth, finds that no condition or combination of conditions which the defendant can meet
23
     will reasonably assure the appearance of the defendant as required and the safety of any
24
     other person and the community. The Government was represented by Adam Cornell. The
25
     defendant was represented by Richard Troberman and James Bustamante. The Government
26


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 1 moved for detention to which the defendant waived the question of detention at this time.
 2       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 3           (1)    There is probable cause to believe the defendant committed the drug
 4                  offenses of conspiracy to distribute marijuana. The maximum penalty is
 5                  in excess of ten years. There is therefore a rebuttable presumption
 6                  against the defendant’s release based upon both dangerousness and flight
 7                  risk, under Title 18 U.S.C. § 3142(e).
 8           (2)    The defendant is viewed as a risk of nonappearance because he has no
 9                  ties to the Western District of Washington, he had been living in Costa
10                  Rica and has an unstable employment history as reported by U.S. Pretrial
11                  Services. At his initial appearance in the Central District of California
12                  before the Honorable Margaret A. Nagle he was ordered detained before
13                  transfer to this district.
14           Based upon the foregoing information, which is also consistent with the
15 recommendation of detention by U.S. Pre-trial Services, it appears that there is no
16 condition or combination of conditions that would reasonably assure future Court
17 appearances and/or the safety of other persons or the community.
18           It is therefore ORDERED:
19           (l)    The defendant shall be detained pending trial and committed to the
20                  custody of the Attorney General for confinement in a correction facility
21                  separate, to the extent practicable, from persons awaiting or serving
22                  sentences or being held in custody pending appeal;
23           (2)    The defendant shall be afforded reasonable opportunity for private
24                  consultation with counsel;
25           (3)    On order of a court of the United States or on request of an attorney for
26                  the Government, the person in charge of the corrections facility in which

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 1               the defendant is confined shall deliver the defendant to a United States
 2               Marshal for the purpose of an appearance in connection with a court
 3               proceeding; and
 4         (4)   The clerk shall direct copies of this order to counsel for the United
 5               States, to counsel for the defendant, to the United States Marshal, and to
 6               the United States Pretrial Services Officer.
 7         DATED this 16th day of October, 2007.
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11
                                               A
                                               U.S. Magistrate Judge, Monica J. Benton

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